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                UNITED STATES DISTRICT COURT
                 DISTRICT OF SOUTH CAROLINA
                    CHARLESTON DIVISION

IN RE: AQUEOUS FILM-   MDL No. 2:18-MN-2873-RMG
FORMING FOAMS PRODUCTS
LIABILITY LITIGATION
                       This Document Relates to:

                                 Ronnie L. Howard v. 3M Company, et al.
                                 Civil Action No: 2:25-cv-02663-RMG

                                 Jessica C. Wayment v. 3M Company, et al.
                                 Civil Action No: 2:25-cv-02655-RMG

                                 Alton C. Turner v. 3M Company, et al.
                                 Civil Action No: 2:25-cv-02661-RMG

                                 James W. Leyhe Jr., v. 3M Company, et al.
                                 Civil Action No: 2:25-cv-02665-RMG

                                 Jeremy R. Alexander v. 3M Company, et
                                 al.
                                 Civil Action No: 2:25-cv-02659-RMG

                                 Dustin B. Caccia v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-02696-RMG

                                 Brian M. Rodgers v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-02976-RMG

                                 Jessica L. Johnting v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03131-RMG

                                 Elaine M. Loftus v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03130-RMG

                                 Katherine Ayan v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03134-RMG
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                                 Mark G. Blanchard, Sr. v. 3M Company, et
                                 al.
                                 Civil Case No: 2:25-cv-03128-RMG

                                 Jeffrey B. Hudson v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03737-RMG

                                 Teressa Burns v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03744-RMG

                                 Bernard V. Wedo v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03742-RMG

                                 Ann K. Gebuhr v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03740-RMG

                                 Stephen T. Trembley, Jr. v. 3M Company,
                                 et al.
                                 Civil Case No: 2:25-cv-03736-RMG

                                 Corey F. Phifer v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03739-RMG

                                 Kathy C. Melton v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03787-RMG

                                 Jennifer L. Sneeden v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03796-RMG

                                 Garret L. Earley v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03791-RMG

                                 Victor A. Cole v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03789-RMG

                                 Tihara J. Williams v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03795-RMG

                                 Tina D. Rodgers v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03792-RMG
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                                 LaShonda L. Cunningham v. 3M
                                 Company, et al.
                                 Civil Case No: 2:25-cv-03788-RMG

                                 JoAnn Walker v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03793-RMG

                                 Misty M. Morgan v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03794-RMG

                                 Robert P. Buoncuore v. 3M Company, et
                                 al.
                                 Civil Case No: 2:25-cv-03790-RMG

                                 Robert A. Cash v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03825-RMG

                                 Tyler Schild v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03828-RMG

                                 James W. Schiermeister v. 3M Company, et
                                 al.
                                 Civil Case No: 2:25-cv-03820-RMG

                                 Douglas S. White v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03817-RMG

                                 Sherina S. Blett v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03816-RMG

                                 David J. Rush v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03831-RMG

                                 Grace Sandoval v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03819-RMG

                                 Joseph C. Wright v. 3M Company, et al.
                                 Civil Case No: 2:25-cv-03827-RMG
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                                        Jarvona L. Jones v. 3M Company, et al.
                                        Civil Case No: 2:25-cv-03824-RMG

                                        Ruth T. Singer v. 3M Company, et al.
                                        Civil Case No: 2:25-cv-03830-RMG

                                        John-Michael Brady v. 3M Company, et
                                        al.
                                        Civil Case No: 2:25-cv-03823-RMG

                                        Kailie J. Benson v. 3M Company, et al.
                                        Civil Case No: 2:25-cv-03818-RMG


            NOTICE OF ERRATA TO CORRECT ERRONEOUS
                     NAMING OF DEFENDANT

      Rafferty, Domnick, Cunningham & Yaffa respectfully submits this Notice of

Errata to correct the erroneous naming of a Defendant in this action. After the cases

were filed, the undersigned counsel realized that the Defendant had been erroneously

named. The Defendant named as “THE INTERTECH GROUP, INC D/B/A PBI

PERFORMANCE PRODUCTS” and similar iterations including “INTERTECH

GROUP” was incorrect and undersigned counsel avers that the error was

unintentional.   The correct name of the Defendant is “PBI PERFORMANCE

PRODUCTS, INC.”
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                                                 Respectfully Submitted,

                                                 /s/ Angela L. Trawick
                                                 Angela L. Trawick, Esq.
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                                                 Troy A. Rafferty, Esq.
                                                 Florida Bar No.: 24120
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                                                          troy@pbglaw.com

                                                 Counsel for Plaintiff



                          CERTIFICATE OF SERVICE

      I hereby certify that on the 9th day of June, 2025, a true and correct copy of

the foregoing instrument was filed with the Clerk of Court by using the CM/ECF

system. Notice of this filing will be sent to all counsel of record registered to receive

electronic service by operation of the Court’s electronic filing system.


                                                 /s/ Angela L. Trawick
                                                 Angela L. Trawick, Esq.
